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                   UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS

___________________________________
                                   )
JULIAN QUINONES,                   )
Individually and on Behalf of      )
All Others Similarly Situated,     )
                                   )
                    Plaintiff,     )
                                   )
          v.                       )              CIVIL ACTION
                                   )              NO. 21-10933-WGY
FREQUENCY THERAPEUTICS, INC.,      )
DAVID L. LUCCHINO, and             )
CARL LEBEL,                        )
                                   )
                    Defendants.    )
___________________________________)


YOUNG, D.J.                                       November 1, 2024

                                 ORDER

     Congress envisioned the Private Securities Litigation

Reform Act of 1995 (“PSLRA”) to raise the pleading standards,

striking a delicate balance between the need “to curb vexatious

litigation” and provide “bona fide claimants their day in

court.”   In re Genzyme Corp. Securities Litig., 754 F.3d 31, 47

(1st Cir. 2014).   “[T]he PSLRA does not require that orders of

dismissal be with prejudice,” id., and, while the First Circuit

has expressed “discomfort” and “concern” with dismissals with

prejudice of securities actions at the motion to dismiss stage,

it has also recognized that in appropriate cases it is


                                     [1]
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“certainly within the bounds of the district court’s discretion

to dismiss with prejudice.”    Id. at 46-47.

     Here, after the First Circuit affirmed the Court’s

dismissal of this action with prejudice, see Quinones v.

Frequency Therapeutics, Inc., 106 F.4th 177 (1st Cir. 2024),

lead plaintiff Julian Quinones (“Quinones”) now moves pursuant

to Rules 60(b)(2) and 60(b)(6) of the Federal Rules of Civil

Procedure that this Court to vacate the dismissal of this action

because he asserts newly discovered evidence cures the

deficiencies that warranted dismissal.      Pl.’s Mot. Relief J.

Rule 60(b) (“the Motion”), ECF No. 64; Pl.’s Mem. Supp. Mot.

Relief J. Rule 60(b) (“Mem.”), ECF No. 65.       The defendants

Frequency Therapeutics, Inc. (“Frequency”), David L. Lucchino

(“Lucchino”), Frequency’s Chief Executive Officer, and Carl

LeBel (“LeBel”), Frequency’s Chief Development Officer

(collectively “the Defendants”), oppose the motion.        Mem. Opp.

Pl.’s Mot. Relief J. Rule 60(b)(“Opp.”).      Quinones filed a

reply. Reply, ECF No. 70.    The parties have not requested oral

argument, it is not necessary to determine on this motion.            See

Local Rule 7.1 (e), (f).    For the reasons stated below, the

motion is DENIED.

     Federal Rule of Civil Procedure 60(b) provides six reasons

upon which a “court may relieve a party or its legal

representative from a final judgment, order, or proceeding ....”

                                     [2]
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Fed. R. Civ. P. 60(b), five of which are for specific reasons

and a final, catch-all provision.         “[R]elief under Rule 60(b) is

extraordinary in nature,” and “motions invoking that rule should

be granted sparingly.”        Rivera-Velazquez v. Hartford Steam

Boiler Inspection and Ins. Co., 750 F.3d 1, 3 (1st Cir. 2014)

Karak v. Bursaw Oil Corp., 288 F.3d 15, 19 (1st Cir. 2002).

Here, Quinones moves for relief under Rule 60(b)(2) and Rule

60(b)(6).      See Mem. §§ II, III.

     The Rule 60(b)(2) motion is untimely, and fails on the

merits.     As for timing, a Rule 60(b)(2) motion for relief from

judgment or order, that is, based upon the discovery of new

evidence, must be brought “within a reasonable time,” but in any

event not “more than a year after the entry of the judgment.”

Fed. R. Civ. P. 60(c)(1); see Kemp, 596 U.S. at 533.            This

action was dismissed by a separate order of dismissal on March

29, 2023, which constituted a judgment for purposes of Rule

60(c).1     See Order of Dismissal, (“In accordance with the Court's


     1  Quinones’s confusion about the dismissal and its effect
on this action, while perhaps an explanation is not a
justifiable excuse. A separate order of dismissal of an action,
as filed here, is a judgment for purposes of Rule 60. See Fed.
R. Civ. P. 54(a) (defining “judgment” as “any order from which
an appeal lies.”). “Generally, when the district court is
‘silent on the issue of prejudice,’ [the First Circuit]
‘presume[s] that such a dismissal was with prejudice.” Foss v.
Marvic Inc., 994 F.3d 57, 63 n. 6 (1st Cir. 2021) (quoting
Claudio-De León v. Sistema Universitario Ana G. Méndez, 775 F.3d
41, 49 (1st Cir. 2014). So it was here: the Court dismissed the
action based upon the motion to dismiss pursuant to Fed. R. Civ.
                                         [3]
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MEMORANDUM AND ORDER entered on March 29, 2023, granting the

defendants’ motion to dismiss, it is hereby ORDERED that above-

entitled action be and hereby is DISMISSED.”), ECF No. 46; see

also USCA Opinion (“Upon consideration whereof, it is now here

ordered, adjudged and decreed as follows: The district court's

judgment is affirmed.”) (emphasis added)).       The instant motion

was filed on July 18, 2024.    The motion is untimely.      Nothing

prohibited Quinones from filing a motion for relief from

judgment pursuant to Rule 60(b).     See Hosp. San Antonio, Inc. v.

Oquendo-Lorenzo, 47 F.4th 1, 6 (1st Cir. 2022) (“[T]he district

court had jurisdiction to entertain the [plaintiff’s] Rule 60(b)

motion despite [plaintiff’s] pending appeal because the district

court has ‘continuing jurisdiction during an appeal to act in

aid of the appeal.’”).

     After the action was dismissed with prejudice, and while

the appeal was pending, Quinones filed a Rule 62.1 motion to

provide an indicative ruling on a Rule 15(a) motion, and argued

in reply to the Defendants’ opposition to that motion that

Quinones also met Rule 60(b)(2) standards, but did not make a




P. 12(b)(6) without noting with prejudice on the separate order
of dismissal because it was superfluous. See Defs.’ Mot.
Dismiss Consolidate Class Action Complaint (seeking to dismiss
the action with prejudice pursuant to Rule 9(b) and 12(b)(6) of
the Federal Rules of Civil Procedure), ECF No. 34.
                                     [4]
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separate Rule 60(b) motion.2        See Pl.’s Mem. Reply Defs.’ Mot.

For Indicative Ruling Leave Amend. Class Action Compl. 3, 8, ECF

No. 58.

     Rule 62.1 of the Federal Rules of Civil Procedure provides

a district court with only three options: “If a timely motion is

made for relief that the court lacks authority to grant because

of an appeal that has been docketed and is pending, the court

may: (1) defer considering the motion; (2) deny the motion; or

(3) state either that it would grant the motion if the court of




     2  Quinones’s blaming the Clerk for informing Quinones’s
counsel that Quinones could file a motion for leave to amend is
inappropriate, and that argument is rejected. See Reply 6 n.6.
As counsel knows –- or should know -– the Clerk’s Office staff,
as knowledgeable and essential to the Court’s work as they are,
are not authorized to provide legal advice, nor are they
authorized to clarify Court orders. See U.S. v. Tropeano, 476
F.2d 586, 588 (1st Cir. 1973) (“The clerk's office is often
helpful and, from experience, parties may find the advice of a
clerk on all sorts of matters to be valuable. Counsel must,
however, take their own chances on such informal instruction,
particularly in a situation like the present, where first hand
information and the ability to protect oneself is readily
available… If the rule were otherwise, courts would be obliged
to forbid their clerks to have any contact with counsel except
in the rigid performance of their statutory duties. The bar
would be the first to object to such a rule. The alternative is
that counsel must make their own decision whether to trust such
informal information, or, as we have sometimes found the problem
to be, and would seem here, to trust their own understanding of
what the clerk may have said.”) If there was any confusion as
to the Memorandum and Order dismissing this action or the
separate order of dismissal entered in this case, or what type
of post-judgment motion could be filed, Quinones should promptly
have filed a motion for clarification with the Court. It did
not.
                                         [5]
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appeals remands for that purpose or that the motion raises a

substantial issue.” Fed. R. Civ. P. 62.1.

     Here, Quinones moved for an order under subpart 3, “for an

indicative ruling under Rule 62.1 that the Court would grant

leave to amend Plaintiff’s original complaint if the First

Circuit remands for that purpose, or alternatively, that this

motion raises a substantial issue.”            Rule 62. 1 Mot. 1, ECF No.

53 (emphasis added).       The Court denied the Rule 62.1 Motion, and

no appeal was taken from that order.           See Elec. Order ECF No. 61

(“Motion denied.       This case is on appeal; this Court's

adjudicative responsibilities are thus limited to actions in aid

of the appeal.      It has no business now volunteering its views

about post-decision events.        Should the Court of Appeals desire

any further analysis, it will ask.”) (emphasis added).              While

denying the motion, this Court properly stayed in its lane,

notifying the First Circuit that if called upon it would provide

whatever assistance was requested, including for example, ruling

on an (unfiled) Rule 60(b) motion, and if successful, thereafter

ruling on a Rule 15 motion.        Nothing prevented Quinones

appealing the Court’s order on the Rule 62.1 Motion, and that

ruling could have been merged into the appeal.3           Nothing


     3  Quinones in effect tried to argue the Court’s denial of
the Rule 62.1 motion at the First Circuit. The Court, of
course, takes judicial notice of the docket and oral argument
before the First Circuit in this action. The appeal was argued
                                         [6]
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prevented Quinones from filing a Rule 60(b) motion, especially

after being alerted to the need to do so by the Defendants, and

later the First Circuit.    Accordingly, there is no basis to

treat the instant motion as timely filed motion nunc pro tunc to

the denied Rule 62.1 motion.     While the First Circuit

acknowledged Quinones’s purported newly discovered evidence, the

First Circuit ultimately ruled that any Rule 60(b) motion and

Rule 15 motion must first be brought in this Court, and

expressed “no opinion at all concerning the disposition of any

such motion.”   USCA Opinion, ECF No. 62.

     Accordingly, for the reasons stated above, Quinones’s

motion for relief pursuant to Rule 60(b)(2) of the Federal Rules

of Civil Procedure is untimely and denied on this ground.

     In the alternative, the rule 60(b)(2) motion fails on the

merits.   “True, within one year of final judgment a litigant may




on January 8, 2024. The First Circuit Panel observed that a
ruling on a motion to amend the complaint was not before it, and
said that Quinones “need[ed] a Rule 60 motion to reopen the
record to allow [Quinones] to file a Rule 15 motion to amend.”
Oral Argument at 7:48 - 7:56, Quinones v. Frequency
Therapeutics, Inc., No. 23-01393 (1st Cir. Jan. 8, 2024),
https://www.ca1.uscourts.gov/sites/ca1/files/oralargs/23-
1393_20240108.mp3. Quinones wanted a remand from First Circuit
with instruction to permit amendment. The First Circuit Panel
questioned Quinones’s counsel whether there was a timing issue
with respect to a Rule 60(b) motion at that point. Id. at
10:26. Quinones counsel acknowledged the one-year deadline, but
asserted that she nevertheless believed there was no timing
issue. Notably, the First Circuit did not issue a remand, but
rather affirmed the dismissal.
                                     [7]
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move to reopen the judgment for newly discovered evidence,

Fed.R.Civ.P. 60(b)(2), but only if [(1)] the evidence could not

have been discovered through the exercise of due diligence, id.;

Lepore v. Vidockler, 792 F.2d 272, 274 (1st Cir.1986), and

[(2))] the new evidence ‘would probably have changed the

outcome,’” Roger Edwards, LLC v. Fiddes & Son Ltd., 427 F.3d

129, 134 (1st Cir. 2005) (quoting Hoult v. Hoult, 57 F.3d 1, 6

(1st Cir. 1995)).       The present motion fails on both grounds.

     First, Quinones has not met his burden to demonstrate that

he exercised reasonable diligence to obtain the newly discovered

evidence from two new confidential witnesses.4           More to the

point, Quinones states that the two new confidential witnesses

left Frequency in April 2022 –- eleven months before this Court

dismissed the action.        In his motion, Quinones claims that the

two new witnesses only “emerged” after the deadline to file an

appeal had expired.       Mem. 9.    Further, Quinones claims that only

after the action was dismissed in March 2023, did he attempt to

shore up additional sources of information.           Mem. 10.    According

to Quinones, contact was made with CW2 in June 2023, and CW2 was

able to introduce CW3 to the investigator that same month.                Id.

As argued by the Defendants, this explanation is unadorned




     4  The purported public information that is not new and was
available to Quinones is not a basis to vacate the judgment, and
is not here considered as grounds for Rule 60(b) relief.
                                         [8]
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argument by Quinones’s counsel, and further reflects a time

period of eleven months where Quinones did nothing further,

apparently waiting to see if the motion to dismiss would be

allowed.   Opp. 11-12.   As the Defendants point out, the reasons

given for failure to locate Confidential Witness 2 and

Confidential Witness 3 are at best unclear, and unsupported by a

declaration or other reliable evidence that can be tested by the

adversarial process.     Opp. 10.

     In response, Quinones ignores the Defendants’ point about

supporting affidavits, and merely argues in his Reply that:

     the Original Complaint was filed on May 16, 2022 and
     at [that] time publicly available information did not
     reflect their departure. This most likely was due to
     the fact that neither CW updated their public
     information to reflect being a former employee of
     Frequency immediately and [Quinone’s counsel] has a
     strong policy of against contacting a defendant’s
     current employees. Thus, prior to the filing of the
     Original Complaint, Plaintiff did not and could not
     have contacted CW2 and CW3. It is unclear when their
     public information was finally updated to reflect
     their former employee status.

Reply 5 (emphasis added).

     Digging into the underlying Rule 62.1 Motion, the

explanation is similarly unsupported by affidavit, and rings

hollow:

     Thus, after filing the Original Complaint, Plaintiff
     ceased further investigation into the case, especially
     considering that, at that time, Plaintiff had no
     unpursued leads. There was thus no further research
     even to be done. Once the Court granted Defendants’
     motion to dismiss on scienter grounds and, in its

                                     [9]
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     opinion, provided specifics as to what in particular
     was lacking in regards to scienter, Plaintiff reopened
     his investigation. It was not until months after
     reopening his investigation that CW2 was located and
     began to discuss the allegations contained in the PAC,
     and then connect Plaintiff’s investigator with CW3.
     Thus, this is not a situation where Plaintiff was in
     the possession of further information pending the
     motion to dismiss but “waited in the wings.” Instead,
     Plaintiff did not have this new evidence at the time
     of the Original Complaint or even the decision on the
     motion to dismiss. This is simply not delay.


   * * * *


     Plaintiff’s investigator obtains lead lists from
     publicly available information and neither CW2 or CW3
     appeared on any “lead list” prior to the filing of the
     Original Complaint. This is most likely due to the
     fact that neither CW updated their public information
     to reflect being a former employee of Frequency
     immediately and Plaintiff’s counsel has a strong
     policy against contacting a defendant’s current
     employees. Thus, prior to the filing of the Original
     Complaint, Plaintiff had no way of knowing about or
     contacting CW2 and CW3. It is unclear when their
     public information was finally updated to reflect
     their former employee status. Plaintiff’s
     investigator, as stated herein, first located and
     contacted them in June 2023.


Pl.’s Mem. Reply Defs.’ Opp. Rule 62.1 Mot. 2, 11, ECF No. 58

(emphasis in original).    Notably, there is a complete absence of

evidentiary support for these statements.       Even crediting the

statements as true, they do not establish “reasonable diligence”

in obtaining the information.     Simply put, Quinones bears the

heavy burden of production and persuasion to obtain

extraordinary relief under Rule 60(b)(2).       He has not done so

                                     [10]
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here.       For example, there is an absence of any detail on the

investigation protocols, what actions were undertaken, what

public information was available and what was surveyed.5            This

failure to present a “cogent reason” dooms the motion.            See

In re Biogen Inc. Securities Litig., 857 F.3d 34, 45 (1st Cir.

2017).

        Even if Quinones could establish reasonable diligence, the

purported newly discovered confidential witnesses’ statements,

while providing additional factual allegations, on the whole do

not present a strong inference of scienter.          See Quinones, 106

F.4th at 182.      Indeed, Quinones “cannot amalgamate a series of

sketchy brushstrokes and call it a van Gogh.”           Id. at 184.

Accordingly, relief under Rule 60(b) is not warranted and the

motion under Rule 60(b)(2) must be denied.

        Turning to Quinones’s request for Rule 60(b)(6) relief, it

is unavailable because 60(b)(2) is the proper avenue, and there

are no extraordinary circumstances present to warrant relief.

While Rule 60(b)(6) “provides a catchall for ‘any other reason




       The observation of the distinguished scholar John C.
        5

Coffee comes to mind. “Most firms…file smaller cases. These
firms typically have clients who are individuals or smaller
institutions, and they invest less time and attorney hours in
their cases, and their goal is to reach a quick settlement
before investing much money into the case.” Stephen J. Choe,
Jessica Erickson, Adam C. Pritchard, The Business of Securities
Class Action Lawyering (2023), Law & Economic Working Papers.
253 at 7 (citing Professor Coffee).
                                        [11]
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that justifies relief[,]’ [t]his last option is available only

when Rules 60(b)(1) through (b)(5) are inapplicable.”         Kemp v.

U.S., 596 U.S. 528, 533 (2022) (emphasis added) (quoting Fed. R.

Civ. P. 60(b)(6)).    As the First Circuit has held, “[i]t is a

‘bedrock principle that clause (6) may not be used as a vehicle

for circumventing clauses (1) through (5).’”        Rivera-Vasquez,

750 F. 3d at 4 (quoting Cotto v. United States, 993 F.2d 274,

278 (1st Cir.1993)).    “This rule, however, does have a small

escape hatch, in the event of ‘extraordinary circumstances.’”

Simon v. Navon, 116 F.3d 1, 5 (1st Cir. 1997).        Here, Quinones

primary avenue for Rule 60(b) relief is pursuant to Rule

60(b)(2) based upon newly discovered evidence and therefore the

rule of mutual exclusivity is in play.       Accordingly, absent

extraordinary circumstances, where there is an applicable

asserted basis under Rule 60(b)(2), Rule 60(b)(6) is not

“available”.   Kemp, 596 U.S. at 533.       There are no extraordinary

circumstances present here.     The newly discovered evidence and

its untimely presentation to this Court is merely repackaged as

extraordinary circumstances.     Quinones’s playing fast and loose

with the Rules of Civil Procedure, and blaming the Court and the

Clerk for Quinones’s procedural missteps, is not extraordinary

circumstances justifying relief.




                                     [12]
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     Accordingly, for the reasons stated above, Quinones’s

Motion for Relief from Judgment under Rule 60(b), ECF No. 64, is

hereby DENIED.



SO ORDERED.
                                             /s/ William G. Young
                                               WILLIAM G. YOUNG
                                                     JUDGE
                                                    of the
                                                UNITED STATES6




     6 This is how my predecessor, Peleg Sprague (D. Mass 1841-
1865), would sign official documents. Now that I’m a Senior
District Judge I adopt this format in honor of all the judicial
colleagues, state and federal, with whom I have had the
privilege to serve over the past 46 years.
                                     [13]
